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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re:

DIRECT ENTERTAINMENT MEDIA                                          Chapter 11
GROUP, INC.                                                         Case No. 13-22236 (RDD)

                       Debtor.
----------------------------------------------------------------x



                            PLAN OF LIQUIDATION OF
                    DIRECT ENTERTAINMENT MEDIA GROUP, INC.
                PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE


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Dated: July 17, 2013


   THIS PLAN OF LIQUIDATION IS BEING SUBMITTED TO THE
   BANKRUPTCY COURT FOR APPROVAL. THIS PLAN OF LIQUIDATION HAS
   NOT BEEN APPROVED BY THE BANKRUPTCY COURT. ACCORDINGLY,
   THIS IS NOT A SOLICITATION OF ACCEPTANCE OR REJECTION OF THE
   PLAN OF LIQUIDATION. ACCEPTANCES OR REJECTIONS MAY NOT BE
   SOLICITED UNTIL A DISCLOSURE STATEMENT HAS BEEN APPROVED BY
   THE BANKRUPTCY COURT.
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       Direct Entertainment Media Group, Inc. (hereinafter either “DEMG” or the
“Liquidating Debtor”) proposes the following chapter 11 plan pursuant to section 1121(a) of
the Bankruptcy Code. 1

SECTION 1. DEFINITIONS AND INTERPRETATION.

       A.      DEFINITION.

               1.1. 2012 Senior Credit Agreement means that certain Credit and Guarantee
Agreement, dated as of March 30, 2012, by and among Reader’s Digest as borrower, RDA
Holding and each of the guarantors named therein including DEMG, Wells Fargo Principal
Lending, LLC, as issuing lender, each of the other banks and lending institutions as lenders
thereunder, and Wells Fargo Bank, National Association, as administrative agent.

              1.2. Administrative Bar Date Order means an order of the Bankruptcy Court
fixing the deadline by which all Proofs of Claim for Administrative Expense Claims must be
Filed.

               1.3. Administrative Expense Claim means any Claim against DEMG for costs
and expenses of administration arising during the DEMG Case pursuant to sections 328, 330,
363, 364(c)(1), 365, 503(b) or 507(a)(2) of the Bankruptcy Code, including: (a) the actual and
necessary costs and expenses incurred after the Commencement Date and through the Effective
Date of preserving the DEMG Estate and operating the business of DEMG (such as wages,
salaries or commissions for services and payments for goods and other services and leased
premises); (b) Fee Claims; and (c) all fees and charges assessed against the DEMG Estate
pursuant to section 1911 through 1930 of chapter 123 of title 28 of the United States Code, 28
U.S.C. §§ 1-1401.

               1.4. Allowed means, with reference to any Claim against or Interest in DEMG,
(a) any Claim or Interest arising on or before the Effective Date (i) as to which no objection to
allowance has been interposed in accordance with Section 7.2 hereof, or (ii) as to which any
objection has been determined by a Final Order to the extent such objection is determined in
favor of the respective holder, (b) any Claim or Interest as to which the liability of DEMG and
the amount thereof are determined by a Final Order of a court of competent jurisdiction other
than the Bankruptcy Court or (c) any Claim or Interest expressly allowed hereunder; provided,
however, that notwithstanding the foregoing, DEMG shall retain all claims and defenses with
respect to Allowed Claims that are reinstated or otherwise Unimpaired pursuant to the Plan.

                1.5. Available Cash means that Cash available for distribution to holders of
Allowed General Unsecured Claims and shall be calculated, from to time, as that amount equal
to (a) all Cash held, or received in the future by the Liquidating Debtor and cash received
through the disposition of assets or otherwise, minus (b)(i) the Wind Down Reserve, (ii) those
amounts necessary to pay Allowed Administrative Expense Claims, Allowed Secured Claims,
Allowed Other Priority Claims and Allowed Priority Tax Claims in accordance with the Plan,
and (iii) a reserve sufficient to pay Disputed Administrative Expense Claims, Disputed Secured

1
       Capitalized terms used herein shall have the meanings set forth in Section 1.A.
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Claims, Disputed Other Priority Claims and Disputed Priority Tax Claims, if such Claims were
to be Allowed as asserted, unless a reserve in a different amount is agreed to by DEMG and the
affected claimholder or set by order of the Bankruptcy Court.

                1.6. Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. §§
101, et seq., as amended from time to time, as applicable to the Chapter 11 Cases.

               1.7. Bankruptcy Court means the United States Bankruptcy Court for the
Southern District of New York having jurisdiction over the Chapter 11 Cases and, to the extent
of any reference made under section 157 of title 28 of the United States Code, the unit of such
District Court having jurisdiction over the Chapter 11 Cases under section 151 of title 28 of the
United States Code.

               1.8. Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under section 2075 of title 28 of the United
States Code, as amended from time to time, applicable to the Chapter 11 Cases, and any Local
Rules of the Bankruptcy Court.

               1.9. Business Day means any day other than a Saturday, Sunday or any other
day on which banking institutions in New York, New York are required or authorized to close by
law or executive order.

               1.10. Cash means legal tender of the United States of America.

                1.11. Causes of Action means any action, claim, cause of action, controversy,
demand, right, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment, account,
defense, offset, power, privilege, license and franchise of any kind or character whatsoever,
known, unknown, contingent or non-contingent, matured or unmatured, suspected or
unsuspected, liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable
directly or derivatively, whether arising before, on, or after the Commencement Date, in contract
or in tort, in law or in equity or pursuant to any other theory of law. Cause of Action also
includes: (a) any right of setoff, counterclaim or recoupment and any claim for breach of contract
or for breach of duties imposed by law or in equity; (b) the right to object to Claims or Interests;
(c) any claim pursuant to sections 362 or chapter 5 of the Bankruptcy Code; (d) any claim or
defense including fraud, mistake, duress and usury and any other defenses set forth in section
558 of the Bankruptcy Code; and (e) any state law fraudulent transfer claim.

                 1.12. Chapter 11 Cases means the Debtors’ jointly administered cases under
chapter 11 of the Bankruptcy Code commenced by the Debtors on or about February 17, 2013,
and continuing immediately thereafter, in the Bankruptcy Court and styled In re RDA Holding
Co., et. al., Case No. 13- 22233 (RDD).

               1.13. Claim has the meaning set forth in section 101(5) of the Bankruptcy Code

               1.14. Class means any group of Claims or Interests classified by the Plan
pursuant to section 1122(a)(1) of the Bankruptcy Code.



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                1.15. Commencement Date means February 17, 2013 the date on which DEMG
filed its voluntary petition for reorganization relief under chapter 11 of the Bankruptcy Code.

               1.16. Confirmation means the entry of the Confirmation Order on the docket of
the Chapter 11 Cases.

               1.17. Confirmation Date means the date on which the Clerk of the Bankruptcy
Court enters the Confirmation Order.

              1.18. Confirmation Hearing means the hearing to be held by the Bankruptcy
Court regarding confirmation of the Plan, as such hearing may be adjourned or continued from
time to time.

               1.19. Confirmation Order means the order of the Bankruptcy Court confirming
the Plan pursuant to section 1129 of the Bankruptcy Code.

               1.20. Consummation means the occurrence of the Effective Date of the Plan.

               1.21. Creditors Committee means the official committee of unsecured creditors
appointed in the Chapter 11 Cases.

               1.22. Debtors means collectively, the Reorganization Plan Debtors and DEMG.

              1.23. Debtors in Possession means the Debtors in their capacity as debtors in
possession in the Chapter 11 Cases pursuant to sections 1101, 1107(a), and 1108 of the
Bankruptcy Code.

               1.24. DEMG means Direct Entertainment Media Group, Inc., in its capacity as
debtor, Debtor in Possession or the Liquidating Debtor, as the case may be.

              1.25. DEMG Case means DEMG’s case under chapter 11 of the Bankruptcy
Code, designated as Case No. 13-22236 (RDD), and jointly administered as one of the Chapter
11 Cases.

             1.26. DEMG Estate means the estate of DEMG created under section 541 of the
Bankruptcy Code.

               1.27. DIP Agent means Wilmington Trust, National Association, as
administrative agent for the DIP Lenders under the DIP Loan Agreement, as its permitted
successor and assign.

              1.28. DIP Loan means that certain credit and guarantee agreement, dated as of
February 22, 2013, as amended, supplemented, restated or otherwise modified, by and among,
Reader’s Digest, as borrower, RDA Holding and each of RDA Holding’s direct and indirect
domestic subsidiaries party thereto, as guarantors, the DIP Agent, Issuing Lender, the Roll-Up
Lender and the New Money Lenders (each as defined in the Reorganization Plan).




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               1.29. Disbursing Agent means Reader’s Digest acting in its capacity as a
disbursing agent under Section 5.4 hereof or such other designee named by DEMG, provided
however, that any such designee must be approved by the Bankruptcy Court.

             1.30. Disbursing Agent Agreement means that certain agreement entered into
by and between DEMG and Reader’s Digest, dated July 17, 2013, and attached to the Plan as
Exhibit 1, wherein Reader’s Digest, inter alia, agreed to accept responsibility for acting as
Disbursing Agent under the Plan.

              1.31. Disclosure Statement means the Disclosure Statement for the Plan, which
is prepared and distributed in accordance with sections 1125, 1126(b), and/or 1145 of the
Bankruptcy Code, Bankruptcy Rule 3018 and/or other applicable law.

              1.32. Disclosure Statement Order means an order entered by the Bankruptcy
Court finding that the Disclosure Statement contains adequate information pursuant to section
1125 of the Bankruptcy Code.

                1.33. Disputed Claim means with respect to a Claim or Interest, any such Claim
or Interest (a) to the extent neither Allowed nor disallowed under the Plan or a Final Order nor
deemed Allowed under section 502, 503, or 1111 of the Bankruptcy Code, or (b) for which a
Proof of Claim or Interest for payment has been made, to the extent DEMG or any party in
interest has interposed a timely objection or request for estimation before the Confirmation Date
in accordance with the Plan, which objection or request for estimation has not been withdrawn or
determined by a Final Order.

              1.34. Distribution Date means such date or dates, including the Initial
Distribution Date, as determined by the Disbursing Agent in accordance with the terms of the
Plan, on which the Disbursing Agent makes a distribution to holders of Allowed Claims.

               1.35. Distribution Record Date means the Effective Date of the Plan.

                1.36. Effective Date means the date on which all conditions to the effectiveness
of the Plan as set forth in Section 9.2 hereof have been satisfied or waived in accordance with the
terms of the Plan.

               1.37. Entity has the meaning set forth in section 101(15) of the Bankruptcy
Code.

              1.38. Equity Interest means any Interest in DEMG that existed immediately
before the Commencement Date.

               1.39. Exculpated Parties means collectively: (a) DEMG; (b) the Creditors
Committee; and (c) with respect to each of the foregoing entities, such entities’ predecessors,
successors and assigns, subsidiaries and affiliates, and current and former officers and directors,
principals, shareholders, members, agents, financial advisors, attorneys, accountants, and other
professionals, and such persons’ respective heirs, executors, estates, servants and nominees, in
each case in their capacity as such.


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               1.40. Fee Claim means a Claim for professional services rendered or costs
incurred on or after the Commencement Date through the Effective Date by professional persons
retained by DEMG or the Creditors Committee pursuant to sections 328, 329, 330, 331, 503(b)
or 1103 of the Bankruptcy Code in the Chapter 11 Cases.

               1.41. File, Filed, or Filing means file, filed, or filing in the Chapter 11 Cases
with the Bankruptcy Court or with respect to the filing of a Proof of Claim or Proof of Interests,
the Notice and Claims Agent.

               1.42. Final Decree has the meaning set forth in Bankruptcy Rule 3022.

                1.43. Final Order means an order or judgment of a court of competent
jurisdiction that has been entered on the docket maintained by the clerk of such court, which has
not been reversed, vacated or stayed and as to which (a) the time to appeal, petition for
certiorari, or move for a new trial, reargument or rehearing has expired and as to which no
appeal, petition for certiorari, or other proceedings for a new trial, reargument or rehearing shall
then be pending, or (b) if an appeal, writ of certiorari, new trial, reargument or rehearing thereof
has been sought, such order or judgment shall have been affirmed by the highest court to which
such order was appealed, or certiorari shall have been denied, or a new trial, reargument or
rehearing shall have been denied or resulted in no modification of such order, and the time to
take any further appeal, petition for certiorari or move for a new trial, reargument or rehearing
shall have expired; provided, however, that no order or judgment shall fail to be a “Final Order”
solely because of the possibility that a motion pursuant to section 502(j) or 1144 of the
Bankruptcy Code or under Rule 60 of the Federal Rules of Civil Procedure or Bankruptcy Rule
9024 has been or may be filed with respect to such order or judgment.

               1.44. Final Report means the report Filed after the DEMG Estate is fully
administered in furtherance of the Liquidating Debtor’s motion for a Final Decree.

               1.45. FTC means the United States Federal Trade Commission.

              1.46. FTC Action means that certain action styled Federal Trade Commission v.
Fitness Brands, Inc., et al., Case No. 12-23065-CMA (S.D. Fl. 2012).

              1.47. FTC Claims means a General Unsecured Claim in the amount of
$26,667,200, allowed pursuant to the FTC Stipulation.

              1.48. FTC Settlement Order means the Stipulated Final Judgment and Order for
Permanent Injunction and Other Equitable Relief Against Defendants Direct Holdings Americas,
Inc., and DEMG, and Relief Defendant Reader’s Digest, dated August 27, 2012, entered in the
FTC Action.

              1.49. FTC Stipulation means a certain stipulation dated May 28, 2013 and
approved by an order of the Bankruptcy Court dated June 28, 2013.

                 1.50. General Unsecured Claim means any unsecured Claim against DEMG
that is not entitled to priority under the Bankruptcy Code or any order of the Bankruptcy Court,
including without limitation, any FTC Claims and any Senior Noteholder Deficiency Claims.

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              1.51. Impaired means, with respect to a Claim, Interest or Class of Claims or
Class of Interests, “impaired” within the meaning of section 1123(a)(4) and 1124 of the
Bankruptcy Code.

               1.52. Indenture means that certain Indenture, dated as of February 11, 2010
among RD Escrow Corporation, Reader’s Digest, RDA Holding, and the subsidiary guarantors
thereunder, the Indenture Trustee, and Wilmington Trust, National Association (as successor to
Wilmington Trust FSB), as collateral agent.

               1.53. Indenture Trustee means Wilmington Trust, National Association (as
successor by appointment to Wells Fargo Bank, National Association) in its capacity as the
indenture trustee under the Indenture, and its permitted successors and assigns.

              1.54. Indenture Trustee Fees means the reasonable compensation, fees,
expenses, disbursements and indemnity claims arising under the Indenture, including attorneys’
and agents’ fees, expenses, and disbursements, incurred under the Indenture by the Indenture
Trustee, whether prior to or after the Commencement Date and whether prior to or after the
Consummation of the Reorganization Plan.

              1.55. Initial Distribution means the first distribution that the Disbursing Agent
makes to holders of Allowed Claims.

               1.56. Initial Distribution Date means the date occurring on or as soon as
reasonably practicable after the Effective Date on which the Disbursing Agent makes the Initial
Distribution to holders of Allowed Claims, but in no event more than sixty (60) days after
DEMG receives a distribution pursuant to the Reorganization Plan on account of its allowed,
general unsecured claim against the Reorganization Plan Debtors.

              1.57. Interests means any equity security in DEMG as defined in section
101(16) of the Bankruptcy Code, including all common stock, preferred stock or other
instruments evidencing an ownership interest in DEMG, whether or not transferable, and any
option, warrant or right, contractual or otherwise, to acquire any such interests in DEMG that
existed immediately before the Effective Date.

               1.58. Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

               1.59. Liquidating Debtor means DEMG on and after the Effective Date.

               1.60. Notice and Claims Agent means Epiq Bankruptcy Solutions, Inc., in its
capacity as notice and claims agent for the Debtors.

               1.61. Notice and Hearing Requirements has the meaning set forth in section
102(1) of the Bankruptcy Code.

                1.62. Other Priority Claim means any Claim against DEMG, other than an
Administrative Expense Claim or a Priority Tax Claim, entitled to priority in payment as
specified in section 507(a)(3), (4), (5), (6), (7) or (9) of the Bankruptcy Code.


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                1.63. Parent Advance means such amounts advanced by Reader’s Digest,
pursuant to the FTC Stipulation, to or for the benefit of DEMG for the purpose of paying
DEMG’s costs and expenses of implementing or administering the Plan or in effectuating the
Wind Down, provided, however, that Reader’s Digest’s obligation to make such advances shall
be limited to, and capped at, $50,000 in the aggregate, and shall be conditional on DEMG having
insufficient cash or other resources (excluding (i) distributions made or to be made to DEMG
pursuant to the Reorganization Plan, and (ii) the proceeds of any sale or other disposition of any
DEMG assets) to pay such costs and expenses in full. Nothing herein contained shall limit or
otherwise impair Reader’s Digest’s ability, in its sole discretion, to make advances to DEMG in
excess of $50,000. To the extent that the proceeds of any Parent Advances held by DEMG have
not been disbursed upon the entry of a Final Decree, such undisbursed proceeds shall be
immediately turned over to Reader’s Digest.

               1.64. RDA Holding means RDA Holding Co.

                1.65. Person means an individual, corporation, partnership, joint venture,
association, joint stock company, limited liability company, limited liability partnership, trust,
estate, unincorporated organization, governmental unit (as defined in section 101(27) of the
Bankruptcy Code) or other entity.

                1.66. Plan means this chapter 11 plan of liquidation, including the attached
exhibit, as the same may be amended or modified from time to time in accordance with Section
12.5 herein.

               1.67. Priority Tax Claim means any secured or unsecured Claim against DEMG
of a governmental unit of the kind entitled to priority in payment as specified in sections 502(i)
and 507(a)(8) of the Bankruptcy Code.

              1.68. Proof of Claim means a proof of Claim Filed against DEMG in the
Chapter 11 Cases.

              1.69. Proof of Interest means a proof of Interest Filed against DEMG in the
Chapter 11 Cases.

               1.70. Pro Rata means the proportion that an Allowed Claim in a particular Class
bears to the aggregate amount of Allowed Claims in that Class, or the proportion that Allowed
Claims in a particular Class bear to the aggregate amount of Allowed Claims and Disputed
Claims in a particular Class and other Classes entitled to share in the same recovery as such
Allowed Class under the Reorganization Plan.

               1.71. Reader’s Digest means The Reader’s Digest Association, Inc.

                1.72. Released Parties means, collectively, (a) the Disbursing Agent, (b) the
Reorganization Plan Debtors, (c) the Consenting Senior Noteholders, (d) the Consenting Lender,
(e) the Issuing Lender, (f) the Roll-Up Lender, (g) the Creditors Committee, and (h) with respect
to each of (a) through (h) above, their respective directors, officers, shareholders, partners,
members, employees, agents, affiliates, parents, predecessors, successors, attorneys, financial


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advisors, investment bankers, accountants and other professionals or representatives when acting
in such capacities.2

               1.73. Releasing Parties means, collectively (a) the Creditors Committee and the
members thereof and (b) each holder of a Claim that affirmatively votes to accept the DEMG
Plan, each solely in its capacity as such.

              1.74. Reorganization Plan means the Second Amended Joint Plan of
Reorganization of Certain Debtors Under Chapter 11 of the Bankruptcy Code, Filed by the
Reorganization Plan Debtors, as amended or modified from time to time, and as confirmed by
the Bankruptcy Court by order dated June 28, 2013.

               1.75. Reorganization Plan Debtors means RDA Holding Co., The Reader’s
Digest Association, Inc., Ardee Music Publishing, Inc.; Pegasus Sales, Inc.; Pleasantville Music
Publishing, Inc.; R.D. Manufacturing Corporation; Reiman Manufacturing, LLC; RD
Publications, Inc.; Home Service Publications, Inc.; RD Large Edition, Inc.; RDA Sub Co. (f/k/a
Books Are Fun, Ltd.); Reader’s Digest Children’s Publishing, Inc.; Reader’s Digest Consumer
Services, Inc.; Reader’s Digest Entertainment, Inc.; Reader’s Digest Financial Services, Inc.;
Reader’s Digest Latinoamerica, S.A.; WAPLA, LLC; Reader’s Digest Sales and Services, Inc.;
Taste of Home Media Group, LLC; Reiman Media Group, LLC; Taste of Home Productions,
Inc.; World Wide Country Tours, Inc.; W.A. Publications, LLC; WRC Media, Inc.; RDCL, Inc.
(f/k/a CompassLearning, Inc.); RDA Digital, LLC; RDWR, Inc. (f/k/a Weekly Reader
Corporation); Haven Home Media, LLC (f/k/a Reader’s Digest Sub Nine, Inc.); Weekly Reader
Custom Publishing, Inc. (f/k/a Lifetime Learning Systems, Inc.); and World Almanac Education
Group, Inc.

              1.76. Security means any security, as such term is defined in section 101(49) of
the Bankruptcy Code.

                1.77. Secured Claim means a Claim against DEMG (other than an
Administrative Expense Claim, a Priority Tax Claim or a 2012 Senior Credit Agreement Claim)
to the extent (i) secured by property of the DEMG Estate, the amount of which is equal to or less
than the value of such property (A) as set forth in the Plan, (B) as agreed to by the holder of such
Claim and DEMG, or (C) as determined by a Final Order in accordance with section 506(a) of
the Bankruptcy Code, or (ii) secured by the amount of any rights of setoff of the holder thereof
under section 553 of the Bankruptcy Code.

               1.78. Senior Credit Agreement Claim means a Secured Claim, derived from,
based upon, relating to or arising from the 2012 Senior Credit Agreement.

              1.79. Senior Noteholder Deficiency Claim means the General Unsecured
Claims of the Senior Noteholders relating to or arising from the Indenture, in the total aggregate
amount of $244,923,799.20.


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        With respect to (c) through (f), above, such terms used but not defined herein, are each defined in
the Reorganization Plan.

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                1.80. Senior Noteholders means the respective beneficial holders of the Senior
Notes.

              1.81. Senior Notes means the Series A and Series B Floating Rate Senior
Secured Notes due 2017 issued under the Indenture.

                1.82. Subordinated Securities Claims means a Claim subject to subordination
under section 510(b) of the Bankruptcy Code, and any Claim for or that arises from the
rescission of a purchase, sale, issuance or offer of a Security of DEMG, or for damages arising
from the purchase of sale of such a Security, or for reimbursement, indemnification, or
contribution allowed under section 502 of the Bankruptcy Code on account of such Claim.

                1.83. Tax Code means the Internal Revenue Code of 1986, as amended from
time to time.

                1.84. Unimpaired means, with respect to a Claim, Interest or Class of Claims or
Interests, not “impaired” within the meaning of section 1123(a)(4) and 1124 of the Bankruptcy
Code.

                1.85. Unsecured Term Lenders means the holders of Unsecured Term Loan
Claims.

               1.86. Unsecured Term Loan means that certain unsecured term loan credit and
guarantee agreement, dated as of August 12, 2011, among RDA Holding, Reader’s Digest, the
other guarantors named thereunder, the lenders party thereto, and Luxor Capital Group, LP, as
administrative agent.

               1.87. Unsecured Term Loan Claim means, pursuant to the 2011 Financing
Settlement (as such term is defined in the Reorganization Plan), the General Unsecured Claims
to be Allowed as Class 3 General Unsecured Claims, derived from, based upon, relating to or
arising from the Unsecured Term Loan.

                1.88. Wind Down means the wind down of DEMG’s affairs in accordance with
the Plan, as such term is defined in Section 5.1.

              1.89. Wind Down Reserve means the sum of (a) $25,000 or such other amount
determined by the Bankruptcy Court, subject to the Notice and Hearing Requirement, for the
purpose of determining Available Cash until the final Distribution Date, and (b) thereafter, zero
($0) dollars.

         B.     Interpretation; Application of Definitions and Rules of Construction.

               Unless otherwise specified, all section or exhibit references in the Plan are to the
respective section in, or exhibit to, the Plan, as the same may be amended or modified from
time to time. The words “herein,” “hereof,” “hereto,” “hereunder” and other words of similar
import refer to the Plan as a whole and not to any particular section, subsection or clause
contained therein. The headings in the Plan are for convenience of reference only and shall not
limit or otherwise affect the provisions hereof. For purposes of the Plan: (1) in the appropriate

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context, each term, whether stated in the singular or the plural, shall include both the singular
and the plural, and pronouns stated in the masculine, feminine or neuter gender shall include
the masculine, feminine and the neuter gender; (2) any reference herein to a contract, lease,
instrument, release, indenture or other agreement or document being in a particular form or on
particular terms and conditions means that the referenced document shall be substantially in that
form or substantially on those terms and conditions; (3) unless otherwise specified, all references
herein to “Sections” are references to Sections hereof or hereto; (4) the rules of construction set
forth in section 102 of the Bankruptcy Code shall apply; and (5) any term used in capitalized
form herein that is not otherwise defined but that is used in the Bankruptcy Code or the
Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the
Bankruptcy Rules, as the case may be.

       C.       Reference to Monetary Figures.

               All references in the Plan to monetary figures shall refer to the legal tender of the
United States of America, unless otherwise expressly provided.

       D.      Controlling Document.

                In the event of an inconsistency between the Plan and the Disclosure Statement,
the Plan shall control in all respects (unless stated otherwise in the Plan). The provisions of the
Plan and of the Confirmation Order shall be construed in a manner consistent with each other so
as to effect the purposes of each; provided, that if there is determined to be any inconsistency
between any Plan provision and any provision of the Confirmation Order that cannot be so
reconciled, then, solely to the extent of such inconsistency, the provisions of the Confirmation
Order shall govern and any such provision of the Confirmation Order shall be deemed a
modification of the Plan and shall control and take precedence.

SECTION 2. ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS.

               2.1.    Administrative Expense Claims.

                      (a)    Bar Date. Any Entity that has and wishes to assert an
Administrative Expense Claim (other than a Fee Claim) against DEMG shall be obligated to
timely file a Proof of Claim therefor in accordance with the procedures set forth by the
Bankruptcy Court in the Administrative Bar Date Order, failing which such Entity shall be
forever barred from seeking payment of such Claim or otherwise seeking to enforce its rights
with respect to such Claim against DEMG.

                       (b)    Payment. Except to the extent that a holder of an Allowed
Administrative Expense Claim and DEMG agree to different treatment, the Liquidating Debtor
shall pay to each holder of an Allowed Administrative Expense Claim Cash in an amount equal
to such Claim on, or as soon thereafter as is reasonably practicable, the later of (a) the Effective
Date and (b) the first Business Day after the date that is thirty (30) calendar days after the date
such Administrative Expense Claim becomes an Allowed Administrative Expense Claim.




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               2.2.    Fee Claims.

               All Entities seeking an award by the Bankruptcy Court of Fee Claims against
DEMG (a) shall file their respective final applications for allowance of compensation for
services rendered and reimbursement of expenses incurred by the day that is forty-five (45) days
after the Effective Date, (b) shall be paid in full by the Liquidating Debtor in such amounts as
Allowed by the Bankruptcy Court (i) upon the later of (A) the Effective Date and (B) the date
upon which the order relating to any such Allowed Fee Claim is entered or (ii) upon such other
terms as may be mutually agreed upon between the holder of such an Allowed Fee Claim and the
Liquidating Debtor. The Liquidating Debtor is authorized to pay compensation for services
rendered or reimbursement of expenses incurred after the Effective Date in the ordinary course
and without the need for Bankruptcy Court approval.

               2.3.    Priority Tax Claims.

                Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a
different treatment, each holder of an Allowed Priority Tax Claim shall be paid by the
Liquidating Debtor (a) in full, in Cash, in an amount equal to such Allowed Priority Tax Claim
on, or as soon thereafter as is reasonably practicable, the later of (i) the Effective Date, (ii) the
first Business Day after the day that is thirty (30) calendar days after the date such Priority Tax
Claim becomes an Allowed Priority Tax Claim, and (iii) the date such Allowed Priority Tax
Claim becomes due and payable in the ordinary course, or (b) in equal annual Cash payments in
an aggregate amount equal to such Allowed Priority Tax Claim commencing on, or as soon
thereafter as is reasonably practicable, the later of the dates specified in clause (a), together
with interest at the applicable rate under section 511 of the Bankruptcy Code, over a period not
exceeding five (5) years after the Commencement Date; provided that, in the case of clause (b),
such payments must be made in a manner not less favorable than the most favored non-priority
unsecured Claim provided for under the Plan, and DEMG reserves the right to prepay all or a
portion of such Allowed Priority Tax Claim at any time.

               2.4.    Indenture Trustee Fees.

                Any and all Indenture Trustee Fees shall be satisfied in accordance with the
provisions of the Reorganization Plan and the Liquidating Debtor shall have no liability with
respect to the payment or other satisfaction of the Indenture Trustee Fees.

SECTION 3. CLASSIFICATION OF CLAIMS AND INTERESTS.

               3.1.    Summary of Classification.

                The following table designates the Classes of Claims against, and Interests in,
DEMG and specifies which of those Classes are (a) Impaired or Unimpaired by the Plan, (b)
entitled to vote to accept or reject the Plan in accordance with section 1126 of the Bankruptcy
Code and (c) deemed to reject the Plan. In accordance with section 1123(a)(1) of the Bankruptcy
Code, Administrative Expense Claims and Priority Tax Claims have not been classified and,
thus, are excluded from the Classes of Claims and Interests set forth in this Section 3. All of the
potential Classes of Claims and Interests are set forth herein. Based upon the confirmation of the
Reorganization Plan and the treatment provided thereunder to the Claims of Senior Noteholders

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and the Claims of the Unsecured Term Lenders, Senior Noteholders do not have a Secured
Claim, and the Unsecured Term Lenders do not have a General Unsecured Claim, against
DEMG, and, accordingly, no such Claims have been classified.


    Class         Designation                              Treatment           Entitled to Vote

     1      Other Priority Claims                          Unimpaired                No
                                                                              (deemed to accept)

     2      Secured Claims                                  Impaired3                 Yes


     3      General Unsecured Claims                        Impaired                  Yes


     4      Equity Interests                                Impaired                  Yes



               3.2.   Special Provision Governing Unimpaired Claims.

               Except as otherwise provided in the Plan, nothing under the Plan shall affect
the rights of DEMG, in respect of any Unimpaired Claims, including all rights in respect of
legal and equitable defenses to, or setoffs or recoupments against, any such Unimpaired
Claims.

               3.3.   Elimination of Vacant Classes.

               Any Class of Claims or Interests that, as of the commencement of the
Confirmation Hearing, does not have at least one holder of a Claim or Interest that is Allowed in
an amount greater than zero for voting purposes shall be considered vacant, deemed eliminated
from the Plan for purposes of voting to accept or reject the Plan, and disregarded for purposes of
determining whether the Plan satisfies section 1129(a)(8) of the Bankruptcy Code with respect to
that Class.

SECTION 4. TREATMENT OF CLAIMS AND INTERESTS.

               4.1.   Other Priority Claims (Class 1).

                      (a)       Classification: Class 1 consists of all Other Priority Claims.

                      (b)      Treatment: Except to the extent that a holder of an Allowed Other
Priority Claim has agreed to less favorable treatment of such Claim, each such holder shall
receive, in full and final satisfaction of such Claim, Cash in an amount equal to such Claim,
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      DEMG reserves the right to argue at the Confirmation Hearing that Class 2 (Secured Claims) is
Unimpaired.

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payable on the later of the Effective Date and the date on which such Other Priority Claim
becomes an Allowed Other Priority Claim, in each case, or as soon as reasonably practical
thereafter.

                     (c)    Voting: Class 1 is Unimpaired, and the holders of Other Priority
Claims are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, holders of Other Priority Claims are not entitled to vote to accept
or reject the Plan.

               4.2.    Secured Claims (Class 2).

                       (a)     Classification: Class 2 consists of all Secured Claims. To the
extent that Secured Claims are secured by different collateral or different interests in the same
collateral, such Claims shall be treated as separate subclasses of Class 2.

                       (b)     Treatment: Except to the extent that a holder of an Allowed
Secured Claim has agreed to less favorable treatment of such Claim, each holder of an Allowed
Secured Claim shall receive in full and final satisfaction of such Claim, at DEMG’s option,
either (i) Cash in amount equal to such Claim, payable on the later of the Effective Date and the
date on which such Secured Claim becomes an Allowed Secured Claim, or, in each case, as soon
as reasonably practical thereafter, or (ii) delivery of the collateral securing such Allowed Secured
Claim and payment of any interest required under Section 506(b) of the Bankruptcy Code, or (iii)
such other recovery necessary to satisfy section 1129 of the Bankruptcy Code.

                        (c)     Voting: Class 2 is Impaired, and holders of Secured Claims in
Class 2 are entitled to vote to accept or reject the Plan; provided, however, that DEMG reserves
the right to argue at the Confirmation Hearing that Class 2 (Secured Claims) is Unimpaired.

               4.3.    General Unsecured Claims (Class 3).

                       (a)    Classification: Class 3 consists of all General Unsecured Claims.

                       (b)   Treatment: On the Effective Date, or as soon thereafter as is
reasonably practicable, except to the extent that a holder of an Allowed General Unsecured
Claim agrees to less favorable treatment of such Allowed General Unsecured Claim or has been
paid before the Effective Date, each holder of an Allowed General Unsecured Claim, shall
receive its Pro Rata share of Available Cash, provided, however, that the holders of Senior
Noteholder Deficiency Claims have waived their distribution pursuant to the FTC Stipulation.

                       (c)       Voting: Class 3 is Impaired, and holders of General Unsecured
Claims in Class 3 are entitled to vote to accept or reject the Plan. For the avoidance of doubt, the
holders of Senior Noteholder Deficiency Claims are entitled to vote to accept or reject the Plan
as holders of General Unsecured Claims in Class 3.

               4.4.    Equity Interests (Class 4).

                       (a)    Classification: Class 4 consists of all Equity Interests.


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                      (b)     Treatment: The holder of the Equity Interests shall retain such
Interests, provided, however, that no distribution of any property of the Liquidating Debtor shall
be made to such holder unless and until all General Unsecured Claims are paid in full with
applicable interest and provided, further, that once all distributions under the Plan have been
made, the Liquidating Debtor shall be dissolved and such Interests shall be cancelled and of no
further effect.

                        (c)     Voting: Class 4 is Impaired, and holders of Equity Interests in
Class 4 are entitled to vote to accept or reject the Plan.

SECTION 5. MEANS FOR IMPLEMENTATION.

               5.1.   Wind Down.

               From and after the Effective Date, the Liquidating Debtor, subject to other
provisions of this Plan, shall take such actions as may be reasonably calculated to maximize the
recovery to holders of Claims.

               The Liquidating Debtor shall have the power and authority to perform the
following acts (together, the “Wind Down”), in addition to any powers granted by law or
conferred by any other provision of the Plan and orders of the Bankruptcy Court; provided,
however, that enumeration of the following powers shall not be considered in any way to limit or
control the power of the Liquidating Debtor to act as specifically authorized by any other
provision of the Plan or orders of the Bankruptcy Court, and to act in such manner as may be
necessary or desirable to discharge all obligations assumed by the Liquidating Debtor as
provided herein, including without limitation and by example only:

                      (a)     determine tax issues or liabilities in accordance with section 505 of
                              the Bankruptcy Code;

                      (b)     resolve any objections to the allowance or priority of Claims,
                              Administrative Expenses Claims or Interests;

                      (c)     resolve any dispute as to the treatment necessary to reinstate a
                              Claim, Administrative Expense Claims or Interests pursuant to the
                              Plan;

                      (d)     distribute Cash in the DEMG Estate to creditors consistent with the
                              terms of the Plan;

                      (e)     perfect and secure the Liquidating Debtor’s right, title and interest
                              to property of the DEMG Estate;

                      (f)     manage and protect property of the DEMG Estate and distribute
                              the net proceeds of the sale of such property consistent with the
                              terms of the Plan;



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                      (g)     purchase or continue insurance to protect the Liquidating Debtor
                              and property of the DEMG Estate;

                      (h)     deposit DEMG funds, draw checks and make disbursements
                              thereof consistent with the terms of the Plan;

                      (i)     employ, retain and compensate, and discharge and dismiss, without
                              further order of the Bankruptcy Court, professionals as the
                              Liquidating Debtor may deem necessary or desirable to assist in
                              fulfilling the purposes of the Plan, including the continued
                              retention and payment of professionals in connection with any
                              ongoing litigation or other matters pursued or conducted by the
                              Liquidating Debtor whether on an hourly, flat fee or contingency
                              basis;

                      (j)     commence or prosecute in the name of the Liquidating Debtor any
                              lawsuit or other legal or equitable action (except to the extent
                              released pursuant to the terms of the Plan), including, without
                              limitation, filing objections to, or estimation of, Claims, in any
                              court of competent jurisdiction, which are necessary to carry out
                              the terms and conditions of the Plan;

                      (k)     settle, compromise or adjust any disputes or controversies in favor
                              of, or against, the Liquidating Debtor;

                      (l)     incur and pay all Plan expenses and reasonable costs and expenses
                              incident to the performance of the duties of the Liquidating Debtor
                              under the Plan, including without limitation, reasonable rent for
                              office space and storage, office supplies, travel and expense
                              reimbursement, insurance, and other obligations;

                      (m)     prepare and file tax returns, as mandated by applicable local, state,
                              federal and foreign law;

                      (n)     seek entry of a Final Decree at the appropriate time; and

                      (o)     take such other actions as the Liquidating Debtor may determine to
                              be necessary or desirable to carry out the purpose of the Plan.

               5.2.   Continued Corporate Existence.

               From and after the Effective Date through and including the date of its dissolution
under applicable law, (a) the Liquidating Debtor will continue to exist as a separate corporation,
and (b) the Liquidating Debtor shall retain all of the powers of corporations under applicable
non-bankruptcy law, and without prejudice to any right to amend its charter, dissolve, merge or
convert into another form of business entity, or to alter or terminate its existence, provided that
the Liquidating Debtor’s sole purpose from and after the Effective Date will be to make

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distributions to creditors holding Allowed Claims consistent with the Plan and to otherwise
effectuate the Wind Down.

               5.3.    Disposition of Assets.

               The Liquidating Debtor shall monetize all property of the DEMG Estate, subject
to the following conditions:

                        (a)     Court approval. Bankruptcy Court approval shall not be
necessary for any disposition of property of the DEMG Estate if such property is sold for Cash
for its fair market value in an arm’s length transaction with a party unrelated to the Debtors. All
other dispositions of property of the DEMG Estate shall be subject to the Notice and Hearing
Requirements.

                     (b)    Sale Proceeds. Except with Bankruptcy Court approval, all sales
of property of the DEMG Estate shall be for Cash.

                      (c)    Abandonment.     The Liquidating Debtor may abandon any
property of the DEMG Estate which, in the exercise of its business judgment, the Liquidating
Debtor reasonably believes is burdensome to the DEMG Estate or is of inconsequential value
and benefit to the DEMG Estate.

               5.4.    Disbursing Agent.

                The Disbursing Agent shall make all distributions required under this Plan in
accordance with the Disbursing Agent Agreement, provided however, for the avoidance of doubt
the Disbursing Agent shall have no obligation to reconcile claims. Upon the Effective Date,
Reader’s Digest shall serve as the initial Disbursing Agent pursuant to the Disbursing Agent
Agreement. Except as otherwise provided in the Disbursing Agent Agreement, the Disbursing
Agent shall be entitled to receive from the DEMG Estate reasonable compensation for its
services as disbursing agent and shall be entitled to reimbursement of all of its reasonable out-of-
pocket expenses incurred in connection with its services as Disbursing Agent. All payments
made to the Disbursing Agent shall be disclosed in the Final Report, but shall not be subject to
Bankruptcy Court approval.

                The Disbursing Agent shall not be required to give any bond or surety or other
security for the performance of its duties, and all reasonable fees and expenses incurred by such
Disbursing Agent shall be reimbursed by the Liquidating Debtor, except as otherwise provided
in the Disbursing Agent Agreement.

              The Disbursing Agent shall hold the Available Cash in a segregated non-interest
bearing account.

               The Disbursing Agent shall be empowered to (a) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties hereunder, (b)
make all distributions contemplated hereby and (c) exercise such other powers as may be vested
in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by
the Disbursing Agent to be necessary and proper to implement the provisions hereof.

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              Pursuant to the Disbursing Agent Agreement, in consideration for serving as the
Disbursing Agent, Reader’s Digest shall be entitled to certain indemnifications, exculpations
and releases arising out of or relating to the Disbursing Agent Agreement and the services
provided thereunder. See Section 2(f) of the Disbursing Agent Agreement.

               5.5.   Allowance of Claims.

               All Claims and Interests asserted against the DEMG Estate shall be subject to
allowance or disallowance in accordance with the Bankruptcy Code and Bankruptcy Rules,
consistent with the process set forth in Section 7 of this Plan.

               5.6.   Distributions.

              All distributions to holders of Allowed Claims shall be made by the Disbursing
Agent in accordance with Section 6 of this Plan and the Disbursing Agent Agreement.

               5.7.   Governance.

               From and after the Effective Date, the Liquidating Debtor shall be managed and
administered by its board of directors, so long as such board has at least one member. Any
vacancies on the board of directors shall be filled in accordance with DEMG’s organization
documents. As of the Effective Date, the provisions of this Plan applicable to the corporate
governance of the Liquidating Debtor shall supersede any contrary provision of the certificate of
incorporation, bylaws, or certificate of incorporation of the Liquidating Debtor, which are
hereby deemed amended to so provide.

               5.8.   Cancellation of Liens.

               Except as otherwise specifically provided herein with respect to Class 2, upon the
occurrence of the Effective Date, any Lien securing any Secured Claim shall be deemed released,
and the holder of such Secured Claim shall be authorized and directed to release any collateral or
other property of the Liquidating Debtor (including any Cash collateral) held by such holder and
to take such actions as may be requested by the Liquidating Debtor, to evidence the release of
such Lien, including the execution, delivery and filing or recording of such releases as may be
requested by the Liquidating Debtor.

               5.9.   Corporate Action.

               On the Effective Date, the matters under the Plan involving or requiring corporate
action of DEMG, including but not limited to actions requiring a vote or other approval of
DEMG’s board of directors or shareholders, or the execution of any documentation incident to or
in furtherance of the Plan shall be deemed to have been authorized by the Confirmation Order
and to have occurred and be in effect from and after the Effective Date without any further action
by the Bankruptcy Court or the officers or directors of DEMG.

               On the Effective Date, DEMG’s charter shall be amended, if necessary, to include
a provision prohibiting the issuance of nonvoting equity securities and such other provisions as
may be required pursuant to section 1123(a)(6) of the Bankruptcy Code. The Liquidating Debtor

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may prepare, execute and/or file with the Delaware Secretary of State and other state
governmental authorities having jurisdiction over the Liquidating Debtor such amendments of its
charter as may be necessary or appropriate under applicable non-bankruptcy law to fully
effectuate such amendment.

                Notwithstanding anything to the contrary in the Plan, neither the Disbursing
Agent nor the Liquidating Debtor nor their respective officers and/or directors shall be liable as a
result of any action taken in accordance with the provisions of the Plan, and after the entry of the
Final Decree, neither its officers nor its directors shall have any responsibility for the Liquidating
Debtor, including any further responsibility for the management, supervision, administration,
liquidation, winding up, or cancellation of the charter of the Liquidating Debtor.

               5.10. Dissolution.

               Upon the completion of the Wind Down and the entry of a Final Decree, DEMG
shall be deemed dissolved for all purposes without the necessity for any other or further actions
to be taken by or on behalf of DEMG or payments to be made in connection therewith; provided,
however, that DEMG, or an agent on behalf of DEMG, shall file with the Office of the Delaware
Secretary of State a certificate of dissolution which may be executed by an officer of DEMG, or
an agent on behalf of DEMG, without the need for approval by any board of directors,
stockholders, members, or managers as applicable. From and after the date of the entry of the
Final Decree, DEMG shall not be required to file any document, or take any other action, or
obtain any approval from any DEMG board of directors, stockholders, members, or managers to
withdraw DEMG’s business operations from any state in which DEMG previously conducted
business operations.

               5.11. Withholding and Reporting Requirements.

                        (a)     Withholding Rights. In connection with the Plan, any party
issuing any instrument or making any distribution described in the Plan shall comply with all
applicable withholding and reporting requirements imposed by any federal, state, or local taxing
authority, and all distributions pursuant to the Plan and all related agreements shall be subject to
any such withholding or reporting requirements. Each holder of an Allowed Claim or any other
Person that receives a distribution pursuant to the Plan shall have responsibility for any taxes
imposed by any governmental unit, including, without limitation, income, withholding, and other
taxes, on account of such distribution. Any party issuing any instrument or making any
distribution pursuant to the Plan has the right, but not the obligation, to not make a distribution
until such holder has made arrangements satisfactory to such issuing or disbursing party for
payment of any such tax obligations.

                       (b)     Forms.    Any party entitled to receive any property as a
distribution under the Plan shall, upon request, deliver to the Disbursing Agent or such other
Person designated by the Liquidating Debtor (which entity shall subsequently deliver to the
Disbursing Agent any applicable IRS Form W-8 or Form W-9 received) an appropriate Form W-
9 or (if the payee is a foreign Person) Form W-8, unless such Person is exempt under the Tax
Code and so notifies the Disbursing Agent. If such request is made by the Liquidating Debtor,
the Disbursing Agent, or such other Person designated by the Liquidating Debtor and the holder

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fails to comply before the date that is 180 days after the request is made, the amount of such
distribution shall irrevocably revert to the Liquidating Debtor and any Claim in respect of such
distribution shall be discharged and forever barred from assertion against such Liquidating
Debtor or its respective property.

               5.12. Effectuating Documents; Further Transactions.

               On and after the Effective Date, the Liquidating Debtor and the officers and
members of the board of directors thereof, are authorized to and may issue, execute, deliver, file
or record such contracts, securities, instruments, releases and other agreements or documents and
take such actions as may be necessary or appropriate to effectuate, implement and further
evidence the terms and conditions of the Plan in the name of and on behalf of the Liquidating
Debtor, without the need for any approvals, authorization, or consents except for those expressly
required pursuant to the Plan.

               5.13. Closing of the DEMG Case.

              After the DEMG Estate has been fully administered, the Liquidating Debtor shall
promptly seek a Final Decree.

SECTION 6. DISTRIBUTIONS.

               6.1.   Distribution Record Date.

              As of the close of business on the Distribution Record Date, the transfer register
for each of the Classes of Claims or Interests as maintained by DEMG or its agents, shall be
deemed closed, and there shall be no further changes in the record holders of any of the Claims
or Interests. DEMG shall have no obligation to recognize any transfer of Claims or Interests
occurring on or after the Distribution Record Date.

               6.2.   Date of Distributions.

                Except as otherwise provided herein, the Disbursing Agent shall make the Initial
Distribution to holders of Allowed Claims no later than the Initial Distribution Date and
thereafter, the Disbursing Agent shall from time to time determine, the subsequent Distribution
Dates, which shall occur no less frequently than semi-annually. In the event that any payment
or act under the Plan is required to be made or performed on a date that is not a Business Day,
then the making of such payment or the performance of such act may be completed on or as
soon as reasonably practicable after the next succeeding Business Day, but shall be deemed to
have been completed as of the required date.

              In the event the holders of Allowed General Unsecured Claims have not received
payment in full on account of their Claims after the resolution of all Disputed Claims, then the
Disbursing Agent shall make a final distribution of all remaining Available Cash to all holders
of Allowed General Unsecured Claims.




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               6.3.   Cancellation of Senior Notes.

               Each record holder of a Senior Note Claim shall be deemed to have surrendered
the certificates or other documentation underlying each such Claim, and all such surrendered
certificates and other documentations shall be deemed to be canceled except to the extent
otherwise provided herein. Such surrendered Senior Notes shall be cancelled solely with
respect to DEMG, and such cancellation shall not alter the obligations or rights of any third
parties vis-à-vis one another with respect to such Senior Notes.

               6.4.   Delivery of Distributions.

               Subject to Bankruptcy Rule 9010, all distributions to any holder of an Allowed
Claim shall be made by the Disbursing Agent. In the event that any distribution to any holder is
returned as undeliverable, no further distributions shall be made to such holder unless and until
the Disbursing Agent is notified in writing of such holder’s then-current address, at which time
all currently-due, missed distributions shall be made to such holder as soon as reasonably
practicable thereafter. Undeliverable distributions or unclaimed distributions shall remain in the
possession of the Liquidating Debtor until such time as a distribution becomes deliverable or
holder accepts distribution, or such distribution reverts back to the Liquidating Debtor, as
applicable, and shall not be supplemented with any interest, dividends or other accruals of any
kind. Such distributions shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code at the expiration of 180 days from the date of distribution. After such date, all
unclaimed property or interest in property shall revert to the Liquidating Debtor, and the claim
of any holder to such property or interest in property shall be discharged and forever barred.
Distributions to holders of General Unsecured Claims that are deemed unclaimed property
pursuant to the preceding sentence shall be redistributed to the holders of Allowed General
Unsecured Claims in accordance with Section 4.4 herein.

               6.5.   Manner of Payment Under Plan.

            At the option of the Disbursing Agent, any Cash payment to be made hereunder
may be made by a check or wire transfer or as otherwise required or provided in applicable
agreements.

               6.6.   Setoffs.

               The Liquidating Debtor may, but shall not be required to, set off against any
Claim, any claims of any nature whatsoever that DEMG may have against the holder of such
Claim; provided, that neither the failure to do so nor the allowance of any Claim hereunder shall
constitute a waiver or release by DEMG of any such claim DEMG may have against the holder
of such Claim.

               6.7.   Distributions After Effective Date.

              Distributions made after the Effective Date to holders of Disputed Claims that
are not Allowed Claims as of the Effective Date but which later become Allowed Claims shall
be deemed to have been made on the Effective Date.


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               6.8.   Allocation of Distributions Between Principal and Interest.

                Except as otherwise provided in this Plan, to the extent that any Allowed Claim
entitled to a distribution under the Plan is comprised of indebtedness and accrued but unpaid
interest thereon, such distribution shall be allocated to the principal amount (as determined for
U.S. federal income tax purposes) of the Claim first, and then to accrued but unpaid interest.

               6.9.   Maximum Distributions Allowed.

               No holder of an Allowed General Unsecured Claim shall receive distributions
that aggregate more than the amount of such holder’s Allowed General Unsecured Claim.

               6.10. Rounding of Payments.

               Whenever payment of a fraction of a cent would otherwise be called for, the
actual payment shall reflect a rounding down of such fraction to the nearest whole cent. To the
extent Cash remains undistributed as a result of the rounding of such faction to the nearest
whole cent, such Cash shall be treated as unclaimed property under the Plan.

               6.11. Minimum Cash Distributions

                The Disbursing Agent shall not be required to make any Initial Distribution or
subsequent distribution of Cash less than $25 to any holder of an Allowed General Unsecured
Claim; provided, however, that if any distribution is not made pursuant to this section, such
distribution shall be added to any subsequent distribution to be made on account of the holder’s
Allowed Claim. The Disbursing Agent shall not be required to make any final distributions of
Cash less than $5 to any holder of an Allowed Claim. If either (a) all Allowed General
Unsecured Claims (other than those whose distributions are deemed undeliverable hereunder)
have been paid in full or (b) the amount of any final distributions to holders of Allowed General
Unsecured Claims would be $5 or less and the aggregate amount of cash available for
distributions to holders of Allowed General Unsecured Claims is less than $5,000, then no
further distribution shall be made by the Disbursing Agent and any surplus Cash shall be donated
and distributed to an I.R.C. § 501(c)(3) tax-exempt organization selected by the Liquidating
Debtor.

SECTION 7. PROCEDURES FOR DISPUTED CLAIMS.

               7.1.   Allowance of Claims.

               After the Effective Date, DEMG shall have and shall retain any and all rights
and defenses that DEMG had with respect to any Claim, except with respect to any Claim
deemed Allowed under this Plan. Except as expressly provided in this Plan or in any order
entered in the Chapter 11 Cases prior to the Effective Date (including, without limitation, the
Confirmation Order), no Claim shall become an Allowed Claim unless and until such Claim is
deemed Allowed under this Plan or the Bankruptcy Code or the Bankruptcy Court has entered a
Final Order, including, without limitation, the Confirmation Order, in the Chapter 11 Cases
allowing such Claim.


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               7.2.    Objections to Claims.

                As of the Effective Date, objections to, and requests for estimation of, Claims
against DEMG may be interposed and prosecuted only by DEMG. Such objections and requests
for estimation shall be served and filed (a) on or before the 180th day following the later of (i)
the Effective Date and (ii) the date that a proof of Claim is filed or amended or a Claim is
otherwise asserted or amended in writing by or on behalf of a holder of such Claim, or (b) such
later date as ordered by the Bankruptcy Court upon motion filed by the Liquidating Debtor.

               7.3.    Estimation of Claims.

                DEMG may at any time request that the Bankruptcy Court estimate any
contingent, unliquidated, or Disputed Claim pursuant to section 502(c) of the Bankruptcy Code
regardless of whether DEMG previously objected to such Claim or whether the Bankruptcy
Court has ruled on any such objection, and the Bankruptcy Court will retain jurisdiction to
estimate any Claim at any time during litigation concerning any objection to any Claim,
including, without limitation, during the pendency of any appeal relating to any such objection.
In the event that the Bankruptcy Court estimates any contingent, unliquidated or Disputed
Claim, the amount so estimated shall constitute either the Allowed amount of such Claim or a
maximum limitation on such Claim, as determined by the Bankruptcy Court. If the estimated
amount constitutes a maximum limitation on the amount of such Claim, DEMG may pursue
supplementary proceedings to object to the allowance of such Claim. All of the
aforementioned objection, estimation and resolution procedures are intended to be cumulative
and not exclusive of one another. Claims may be estimated and subsequently compromised,
settled, withdrawn, or resolved by any mechanism approved by the Bankruptcy Court.

               7.4.    No Distributions Pending Allowance.

               If an objection to a Claim is filed as set forth in Section 7.2, no payment or
distribution provided under the Plan shall be made on account of such Claim unless and until
such Disputed Claim becomes an Allowed Claim.

               7.5.    Distributions After Allowance.

                To the extent that a Disputed Claim ultimately becomes an Allowed Claim,
distributions (if any) shall be made to the holder of such Allowed Claim in accordance with the
provisions of the Plan. On the next Distribution Date after the date that any Disputed Claim
becomes an Allowed Claim (whether by Final Order of the Bankruptcy Court or otherwise), the
Disbursing Agent shall provide to the holder of such Claim the distribution (if any) to which
such holder is entitled under the Plan as of the Effective Date, without any interest to be paid on
account of such Claim unless required under applicable bankruptcy law.

               7.6.    Resolution of Claims.

             On and after the Effective Date, the Liquidating Debtor shall have the authority
to compromise, settle, otherwise resolve or withdraw any objections to Claims, and to
compromise, settle or otherwise resolve any Disputed Claims without approval of the
Bankruptcy Court.

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               7.7.   Disallowed Claims.

                All claims held by Persons or Entities against whom or which DEMG has
commenced a proceeding asserting a Cause of Action under sections 542, 543, 544, 545, 547,
548, 549 and/or 550 of the Bankruptcy Code shall be deemed “disallowed” claims pursuant to
section 502(d) of the Bankruptcy Code and holders of such claims shall not be entitled to vote
to accept or reject the Plan. Claims that are deemed disallowed pursuant to this section shall
continue to be disallowed for all purposes until the avoidance action against such party has
been settled or resolved by Final Order and any sums due to DEMG from such party have been
paid.

SECTION 8. EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

               8.1.   General Treatment.

                All executory contracts and unexpired leases to which DEMG is a party are
rejected as of the Effective Date, except for any executory contract or unexpired lease that is an
insurance policy subject to Section 8.3 of the Plan.

               8.2.   Rejection Claims.

                Unless a contract or lease is (a) specifically assumed or rejected by order of the
Bankruptcy Court, (b) otherwise expressly assumed pursuant to the terms of the Plan, or (c) the
subject of a separate assumption or rejection motion filed by DEMG, the Confirmation Order
shall constitute the Bankruptcy Court’s approval of the rejection of all the leases and contracts,
in accordance with Section 8.1 of the Plan, effective as of the Effective Date. In the event that
the rejection of an executory contract or unexpired lease by DEMG pursuant to the Plan results
in damages to the other party or parties to such contract or lease, a Claim for such damages, if
not heretofore evidenced by a timely filed Proof of Claim, shall be forever barred and shall not
be enforceable against DEMG, or its respective properties or interests in property as agents,
successors or assigns, unless a Proof of Claim is filed with the Bankruptcy Court and served
upon counsel for the Liquidating Debtor no later than thirty (30) days after the later of (1) the
Confirmation Date or (2) the effective date of rejection of such executory contract or unexpired
lease. Any such Claims, to the extent Allowed, shall be classified as Class 3 General Unsecured
Claims.

               8.3.   Insurance Policies.

                All insurance policies pursuant to which DEMG has any rights or obligations in
effect as of the date of the Confirmation Order shall continue to be enforced and treated as being
unaffected by the bankruptcy filing.

               8.4.   Reservation of Rights.

              Nothing contained in the Plan will constitute an admission by DEMG that any
such contract or lease is or is not in fact an Executory Contract or Unexpired Lease or that
DEMG has any liability thereunder.


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               Nothing in the Plan will waive, excuse, limit, diminish, or otherwise alter any of
the defenses, Claims, Causes of Action, or other rights of DEMG under any executory or non
executory contract or any unexpired or expired lease.

                Nothing in the Plan will increase, augment, or add to any of the duties,
obligations, responsibilities, or liabilities DEMG under any executory or non executory contract
or any unexpired or expired lease.

                If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, DEMG shall have thirty (30) days following
entry of a Final Order resolving such dispute to alter its treatment of such contract or lease.

SECTION 9. CONDITIONS PRECEDENT TO THE EFFECTIVE DATE.

               9.1.   Conditions Precedent to Confirmation.

               The occurrence of Confirmation is subject to the following conditions precedent:

                      (a)     the entry of the Disclosure Statement Order;

                      (b)     the entry of the Confirmation Order; and

                      (c)     the execution of the Disbursing Agent Agreement by the parties
                              thereto.

               9.2.   Conditions Precedent to the Effective Date.

               The occurrence of the Effective Date of the Plan is subject to the following
conditions precedent:

                      (a)     the Confirmation Date shall have occurred and the Confirmation
                              Order shall have become a Final Order; and

                      (b)     the Reorganization      Plan    shall   have   been    substantially
                              consummated.

               9.3.   Waiver of Conditions Precedent.

            Each of the conditions precedent in Sections 9.1 and 9.2 may be waived in writing
by DEMG with Bankruptcy Court approval.

               9.4.   Effect of Failure of Conditions to Effective Date.

               If the Confirmation Order is vacated, (i) no distributions under the Plan shall be
made, (ii) DEMG and all holders of Claims and Interests shall be restored to the status quo ante
as of the day immediately preceding the Confirmation Date as though the Confirmation Date
never occurred, and (iii) all of DEMG’s obligations with respect to the Claims and the Interests
shall remain unchanged and nothing contained herein shall be deemed to constitute a waiver or
release of any claims by or against DEMG or any other entity or to prejudice in any manner the

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rights of DEMG or any other entity in any further proceedings involving the Plan, DEMG or
otherwise.

SECTION 10. EFFECT OF CONFIRMATION.

               10.1. Subordinated Claims.

                The allowance, classification, and treatment of all Allowed Claims and Interests
and the respective distributions and treatments under the Plan take into account and conform to
the relative priority and rights of the Claims and Interests in each Class in connection with any
contractual, legal and equitable subordination rights relating thereto, whether arising under
general principles of equitable subordination, section 510(b) of the Bankruptcy Code, or
otherwise. Pursuant to section 510 of the Bankruptcy Code, DEMG reserves the right to
reclassify any Allowed Claim or Interest in accordance with any contractual, legal or equitable
subordination relating thereto.

               10.2. Vesting of Assets.

              On the Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy
Code, all property of the DEMG Estate, shall remain vested in DEMG free and clear of all
Claims, Liens, encumbrances, charges and other interests, except as provided pursuant to this
Plan and the Confirmation Order.

               10.3. No Discharge of Claims.

                Except as otherwise provided in the Plan, with respect to unclaimed distributions
and late filed Claims, DEMG shall not be discharged, pursuant to section 1141(d)(3)(A) of the
Bankruptcy Code, from any Claim. The Plan shall bind all holders of Claims and Interests,
notwithstanding whether any such holders failed to vote to accept or reject the Plan or voted to
reject the Plan. All Entities shall be precluded from asserting against the Liquidating Debtor
and the DEMG Estate, their successors and assigns and their assets and properties any other
Claims or Interests based upon any documents, instruments or any act or omission, transaction
or other activity of any kind or nature that occurred before the Effective Date.

               10.4. Term of Injunctions or Stays.

               Unless otherwise provided, all injunctions or stays arising under or entered during
the Chapter 11 Cases under section 105 or 362 of the Bankruptcy Code, or otherwise, and in
existence on the Confirmation Date, shall remain in full force and effect until the later of the
Effective Date and the date indicated in the order providing for such injunction or stay.

               10.5. Injunction Against Interference with Plan.

             From and after the Effective Date, all entities are permanently enjoined from
commencing or continuing in any manner, any suit, action or other proceeding, in the
Bankruptcy Court or otherwise, on account of or respecting any Claim against, or Interest in,
DEMG, except with respect to the allowance of such Claim or Interest in accordance with the
Plan.

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               10.6. Exculpation.

               No Exculpated Party shall have or incur, and each Exculpated Party is hereby
released and exculpated from any claim, obligation, cause of action or liability for any claim in
connection with or arising out of, the administration of the DEMG Case, the negotiation and
pursuit of the Plan, or the solicitation of votes for, or confirmation of, the Plan, the
Consummation of the Plan, or the administration of the Plan or the property to be distributed
under the Plan, or any other transaction contemplated by the foregoing, except for willful
misconduct or gross negligence, but in all respects such entities shall be entitled to reasonably
rely upon the advice of counsel with respect to their duties and responsibilities pursuant to the
Plan; provided, however, that nothing in the Plan shall limit the liability of DEMG’s
professionals to its client pursuant to N.Y. Comp. Codes R. & Regs. tit. 22 § 1200.8 Rule
1.8(h)(1) (2009), and any other statutes, rules or regulation dealing with professional conduct to
which such professionals are subject.

               Furthermore, pursuant to the Disbursing Agent Agreement, upon the Effective
Date, the Disbursing Agent is hereby released and exculpated from any claim, obligation, cause
of action or liability for any claim arising in connection with its duties under the Disbursing
Agent Agreement.

               10.7. Releases

                        (a)     Releases by DEMG. Subject to Section 10.7(c), as of the Effective
Date and to the fullest extent permitted by applicable law, for good and valuable consideration,
including the services to facilitate the Plan, the Released Parties will be deemed released and
discharged by DEMG, the Liquidating Debtor and the DEMG Estate from any and all Claims,
obligations, rights suits, damages, Causes of Action, remedies and liabilities whatsoever, whether
known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, or
otherwise, that DEMG, the Liquidating Debtor or the DEMG Estate would have been legally
entitled to assert, other than any act or omission that is a criminal act or constitutes intentional
fraud; provided, however, that nothing in the Plan shall limit the liability of DEMG’s
professionals to its client pursuant to N.Y. Comp. Codes R. & Regs. tit. 22 § 1200.8 Rule
1.8(h)(1) (2009), and any other statutes, rules or regulation dealing with professional conduct to
which such professionals are subject.

                       (b)     Releases by Holders of Claims. Subject to Section 10.7(c), as of
the Effective Date and to the fullest extent permitted by applicable law, for good and valuable
consideration, including the waiver by the Consenting Senior Noteholders of their right to
receive distributions on account of their Claims, the release an discharge by the Consenting
Lender, the Issuing Lender and the Roll-Up Lender of the liens and security interests granted by
DEMG in connection with the 2012 Credit Agreement and the DIP Loan Agreement, and the
Reorganization Plan Debtors’ release of certain claims against DEMG, the Releasing Parties will
be deemed to have conclusively, absolutely, unconditionally, irrevocably and forever, released
the Released Parties from any and all Claims, obligations, rights, suits, damages, Causes of
Action, remedies and liabilities whatsoever, whether known or unknown, foreseen or unforeseen,
existing or hereinafter arising, in law, equity, or otherwise, that such entity would have been
legally entitled to assert arising from, in whole or in part, any transaction with DEMG, the

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Liquidating Debtor or the DEMG Estate, other than any act or omission that is a criminal act or
constitutes intentional fraud.

                       (c)    Obligations Under Plan Not Released. Notwithstanding anything
in the Plan to the contrary, the Release provisions set forth above do not release any post-
Effective Date obligations of any party under the Plan or any document, instrument or agreement
executed to implement the Plan.

               10.8. Retention of Causes of Action/Reservation of Rights.

                      (a)     Except as otherwise provided herein, including Sections 10.6 and
10.7, pursuant to section 1123(b) of the Bankruptcy Code, DEMG shall retain and may enforce,
sue on, settle or compromise (or decline to do any of the foregoing) all claims, rights, causes of
action, suits and proceedings, whether in law or in equity, whether known or unknown, that
DEMG or the DEMG Estate may hold against any Person or Entity without the approval of the
Bankruptcy Court, including, without limitation, (i) any and all Claims against any Person or
Entity, to the extent such Person or Entity asserts a cross-claim, counterclaim and/or Claim for
setoff which seeks affirmative relief against DEMG, its officers, directors or representatives; and
(ii) the turnover of any property of the DEMG Estate; provided, however that DEMG shall not
retain any Claims or Causes of Action arising under chapter 5 of the Bankruptcy Code against
holders of Allowed General Unsecured Claims (except that such Claims or Causes of Action
may be asserted as a defense to a Claim in connection with the claims reconciliation and
objection procedures). DEMG or its successor(s) may pursue such retained claims, rights, or
causes of action, suits or proceedings, as appropriate, in accordance with the best interests of
DEMG or its successor(s) who hold such rights.

                      (b)     Except as otherwise provided herein, including Sections 10.6 and
10.7, nothing contained herein or in the Confirmation Order shall be deemed to be a waiver or
relinquishment of any Claim, Cause of Action, right of setoff or other legal or equitable defense
which DEMG had immediately before the Commencement Date, against or with respect to any
Claim left Unimpaired by the Plan; provided, however that DEMG shall not retain any Claims or
Causes of Action arising under chapter 5 of the Bankruptcy Code against holders of Allowed
General Unsecured Claims (except that such Claims or Causes of Action may be asserted as a
defense to a Claim in connection with the claims reconciliation and objection procedures).
DEMG shall have, retain, reserve and be entitled to assert all such claims, Causes of Action,
rights of setoff and other legal or equitable defenses which they had immediately before the
Commencement Date with respect to any Claim left Unimpaired by the Plan as if the Chapter 11
Cases had not been commenced, and all of DEMG’s legal and equitable rights respecting any
Claim left Unimpaired by the Plan may be asserted after the Confirmation Date to the same
extent as if the DEMG Case had not been commenced.

               10.9. Solicitation of the Plan.

              As of and subject to the occurrence of the Confirmation Date, DEMG shall be
deemed to have solicited acceptances of the Plan in good faith and in compliance with the
applicable provisions of the Bankruptcy Code, including without limitation, sections 1125(a)


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and (e) of the Bankruptcy Code, and any applicable non-bankruptcy law, rule or regulation
governing the adequacy of disclosure in connection with such solicitation.

SECTION 11. RETENTION OF JURISDICTION.

               On and after the Effective Date, the Bankruptcy Court shall retain jurisdiction
over all matters arising in, arising under, and related to the DEMG Case for, among other things,
the following purposes:

                      (a)    to hear and determine motions and/or applications for the
                             assumption or rejection of executory contracts or unexpired leases
                             and the allowance, classification, priority, compromise, estimation
                             or payment of Claims resulting therefrom;

                      (b)    to determine any motion, adversary proceeding, application,
                             contested matter and other litigated matter pending on or
                             commenced after the Confirmation Date;

                      (c)    to ensure that distributions to holders of Allowed Claims are
                             accomplished as provided herein;

                      (d)    to consider Claims or the allowance, classification, priority,
                             compromise, estimation or payment of any Claim;

                      (e)    to enter, implement or enforce such orders as may be appropriate
                             in the event the Confirmation Order is for any reason stayed,
                             reversed, revoked, modified or vacated;

                      (f)    to issue injunctions, enter and implement other orders, and take
                             such other actions as may be necessary or appropriate to restrain
                             interference by any person with the consummation,
                             implementation or enforcement of the Plan, the Confirmation
                             Order, or any other order of the Bankruptcy Court;

                      (g)    to hear and determine any application to modify the Plan in
                             accordance with section 1127 of the Bankruptcy Code, to remedy
                             any defect or omission or reconcile any inconsistency in the Plan,
                             or any order of the Bankruptcy Court, including the Confirmation
                             Order, in such a manner as may be necessary to carry out the
                             purposes and effects thereof;

                      (h)    to hear and determine all applications under sections 330, 331 and
                             503(b) of the Bankruptcy Code for awards of compensation for
                             services rendered and reimbursement of expenses incurred before
                             the Confirmation Date;

                      (i)    to hear and determine disputes arising in connection with the
                             interpretation, implementation or enforcement of the Plan or the

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                          Confirmation Order or any agreement, instrument or other
                          document governing or relating to any of the foregoing;

                   (j)    to take any action and issue such orders as may be necessary to
                          construe, interpret, enforce, implement, execute and consummate
                          the Plan or to maintain the integrity of the Plan following
                          consummation;

                   (k)    to hear any disputes arising out of, and to enforce, the order
                          approving alternative dispute resolution procedures to resolve
                          personal injury, employment litigation and similar claims pursuant
                          to section 105(a) of the Bankruptcy Code;

                   (l)    to determine such other matters and for such other purposes as may
                          be provided in the Confirmation Order;

                   (m)    to hear and determine matters concerning state, local and federal
                          taxes in accordance with sections 346, 505 and 1146 of the
                          Bankruptcy Code (including any requests for expedited
                          determinations under section 505(b) of the Bankruptcy Code for
                          periods through the dissolution of DEMG);

                   (n)    to adjudicate, decide, or resolve any Causes of Actions;

                   (o)    to adjudicate, decide or resolve any and all matters related to
                          section 1141 of the Bankruptcy Code;

                   (p)    to resolve any cases, controversies, suits, disputes or Causes of
                          Action with respect to the repayment or return of distributions and
                          the recovery of additional amounts owed by the holder of a Claim
                          for amounts not timely repaid;

                   (q)    to adjudicate any and all disputes arising from or relating to
                          distributions under the Plan;

                   (r)    to hear and determine any other matters related hereto and not
                          inconsistent with the Bankruptcy Code and title 28 of the United
                          States Code;

                   (s)    to enter a Final Decree closing the DEMG Case;

                   (t)    to recover all assets of the Liquidating Debtor and property of the
                          DEMG Estates, wherever located; and

                   (u)    to hear and determine any rights, Claims or causes of action held
                          by or accruing to DEMG pursuant to the Bankruptcy Code or
                          pursuant to any federal statute or legal theory.


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SECTION 12. MISCELLANEOUS PROVISIONS.

               12.1. Payment of Statutory Fees.

               On the Effective Date and thereafter as may be required, DEMG shall pay all
fees incurred pursuant to § 1930 of title 28 of the United States Code, together with interest, if
any, pursuant to § 3717 of title 31 of the United States Code for the DEMG Case or until such
time as a Final Decree is entered closing the DEMG Case, a Final Order converting the DEMG
Case to a case under chapter 7 of the Bankruptcy Code is entered or a Final Order dismissing
such the DEMG Case is entered.

               12.2. Substantial Consummation.

               On the Effective Date, the Plan shall be deemed to be substantially consummated
under sections 1101 and 1127(b) of the Bankruptcy Code.

               12.3. Dissolution of Creditors Committee.

             Unless dissolved earlier pursuant to the terms of the Reorganization Plan, the
Creditors Committee shall be dissolved as of the Effective Date.

               12.4. Request for Expedited Determination of Taxes.

               DEMG shall have the right to request an expedited determination under section
505(b) of the Bankruptcy Code with respect to tax returns filed, or to be filed, for any and all
taxable periods ending after the Commencement Date through the Effective Date.

               12.5. Amendments.

                      (a)     Plan Modifications. The Plan may be amended, modified or
supplemented by DEMG in the manner provided for by section 1127 of the Bankruptcy Code or
as otherwise permitted by law without additional disclosure pursuant to section 1125 of the
Bankruptcy Code. In addition, after the Confirmation Date, DEMG may institute proceedings in
the Bankruptcy Court to remedy any defect or omission or reconcile any inconsistencies in the
Plan or the Confirmation Order, with respect to such matters as may be necessary to carry out the
purposes and effects of the Plan.

                       (b)   Other Amendments. Before the Effective Date, DEMG may make
appropriate technical adjustments and modifications to the Plan without further order or approval
of the Bankruptcy Court; provided, however, that any such adjustments or modifications shall
not materially and adversely affect the economic interests of any holder of a Claim or Interest.
In accordance with the Disbursing Agent Agreement, the Disbursing Agent Agreement may not
be amended, modified or supplemented by Reader’s Digest and DEMG without the consent of
the Consenting Senior Noteholders.




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               12.6. Effectuating Documents and Further Transactions.

               Each of the officers of DEMG is authorized, in accordance with his or her
authority under the resolutions of DEMG’s board of directors, to execute, deliver, file or record
such contracts, instruments, releases, indentures and other agreements or documents and take
such actions as may be necessary or appropriate to effectuate and further evidence the terms and
conditions of the Plan.

               12.7. Revocation or Withdrawal of the Plan.

               DEMG may revoke or withdraw the Plan only if it is in the exercise DEMG’s
fiduciary duty. If DEMG takes such action, the Plan shall be deemed null and void. In such
event, nothing contained herein shall constitute or be deemed to be a waiver or release of any
Claims by or against DEMG or any other person or to prejudice in any manner the rights of
DEMG or any person in further proceedings involving DEMG.

               12.8. Severability of Plan Provisions upon Confirmation.

                If, before the entry of the Confirmation Order, any term or provision of the Plan is
held by the Bankruptcy Court to be invalid, void or unenforceable, the Bankruptcy Court, at the
request of DEMG, shall have the power to alter and interpret such term or provision to make it
valid or enforceable to the maximum extent practicable, consistent with the original purpose of
the term or provision held to be invalid, void or unenforceable, and such term or provision shall
then be applicable as altered or interpreted. Notwithstanding any such holding, alteration or
interpretation, the remainder of the terms and provisions of the Plan will remain in full force and
effect and will in no way be affected, impaired or invalidated by such holding, alteration or
interpretation. The Confirmation Order shall constitute a judicial determination and shall
provide that each term and provision of the Plan, as it may have been altered or interpreted in
accordance with the foregoing, is (1) valid and enforceable pursuant to its terms; (2) integral to
the Plan and may not be deleted or modified without the consent of DEMG; and (3) nonseverable
and mutually dependent.

               12.9. Governing Law.

                Except to the extent that the Bankruptcy Code or other federal law is applicable,
the rights, duties and obligations arising under the Plan shall be governed by, and construed and
enforced in accordance with, the laws of the State of New York, without giving effect to the
principles of conflict of laws thereof.

               12.10. Time.

              In computing any period of time prescribed or allowed by the Plan, unless
otherwise set forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy
Rule 9006 shall apply.




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               12.11. Immediate Binding Effect.

                Notwithstanding Bankruptcy Rules 3020(e), 6004(h) or 7062 or otherwise, upon
the occurrence of the Effective Date, the terms of the Plan shall be immediately effective and
enforceable and deemed binding upon and inure to the benefit of DEMG, the holders of Claims
and Interests, the Exculpated Parties and each of their respective successors and assigns.

               12.12. Successor and Assigns.

               The rights, benefits and obligations of any Entity named or referred to in the Plan
shall be binding on, and shall inure to the benefit of any heir, executor, administrator, successor
or permitted assign, if any, of each Entity.

               12.13. Entire Agreement.

              On the Effective Date, the Plan and the Confirmation Order shall supersede all
previous and contemporaneous negotiations, promises, covenants, agreements, understandings
and representations on such subjects, all of which have become merged and integrated into the
Plan.

               12.14. Notices.

               All notices, requests and demands to or upon DEMG to be effective shall be in
writing (including by facsimile transmission) and, unless otherwise expressly provided herein,
shall be deemed to have been duly given or made when actually delivered or, in the case of
notice by facsimile transmission, when received and telephonically confirmed, addressed as
follows:

                      (i)     if to DEMG:

                              DIRECT ENTERTAINMENT MEDIA GROUP, INC.
                              c/o RDA Holding Co.
                              44 South Broadway
                              White Plains, New York 10601
                              Facsimile:     (914) 244-7810
                              Attn: Andrea Newborn, Esq.

                               – and –

                              DICKSTEIN SHAPIRO LLP
                              1633 Broadway
                              New York, NY 10019
                              Attn: Barry N. Seidel, Esq.
                                    Katie L. Weinstein, Esq.
                                    Evan J. Zucker, Esq.
                              Telephone:   (212) 277-6500
                              Facsimile:   (212) 277-6501


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                              – and –

                              WEIL, GOTSHAL & MANGES LLP
                              767 Fifth Avenue
                              New York, NY 10153
                              Attn: Joseph H. Smolinsky, Esq.
                                     Marcia L. Goldstein, Esq.
                                     Matthew P. Goren, Esq.
                              Telephone:    (212) 310-8000
                              Facsimile:    (212) 310-8007

                      (ii)    if to the Disbursing Agent:

                              THE READER’S DIGEST ASSOCIATION, INC.
                              44 South Broadway
                              White Plains, New York 10601
                              Attn: William Magill

               After the Effective Date, DEMG has the authority to send a notice to Entities that
to continue to receive documents pursuant to Bankruptcy Rule 2002, they must file a renewed
request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date,
DEMG is authorized to limit the list of Entities receiving documents pursuant to Bankruptcy
Rule 2002 to those Entities who have filed such renewed requests.




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                                    Exhibit 1

                            Disbursing Agent Agreement
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